Case 1:20-cv-00484-LO-TCB Document 302 Filed 07/09/21 Page 1 of 2 PagelD# 10958

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

)

AMAZON.COM, INC., ef al., )
)

Plaintiffs, )

)

V. ) Civil Action No. 1:20-cv-484 (LO/TCB)

)

WDC HOLDINGS LLC d/b/a NORTHSTAR )
COMMERCIAL PARTNERS, ef ai., )
)

Defendants. )

)

ORDER

FOR REASONS stated from the bench, and in accord with specific rulings and
instructions thereto, it is hereby
ORDERED that Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.’s
(“Plaintiffs”) Motion for Rule 37 and Civil Contempt Sanctions is GRANTED IN PART as to
compel and DENIED IN PART as to sanctions; and it is further
ORDERED that within ten (10) days of this Order, Defendants shall:
e completely and fully re-answer interrogatories 2, 3, 5, and 6 and identify bates numbers
of relevant documents addressing Plaintiffs’ concerns on pages 8-9 of their Motion; and
e fully and completely produce Defendants’ devices imaged by their third-party vendor,

subject to counsel’s eyes only.
Case 1:20-cv-00484-LO-TCB Document 302 Filed 07/09/21 Page 2 of 2 PagelD# 10959

ENTERED this 9th day of July, 2021.

Isl
heresa Carroll Buchanan
pA inited States Magistrate Judge
THERESA CARROLL BUCHANAN
UNITED STATES MAGISTRATE JUDGE

 

Alexandria, Virginia
